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UNITED STATES DISTRICT COURT | <8

for the JUL. - 2 2019
EASTERN DISTRICT OF WISCONSIN

 

 

 

 

 

 

 

 

 

FILED
Stephen C. Dries, Clerk
In the Matter of the Search of | [ a MN" 702

Case Number:
A USPS Priority Express parcel with tracking number
EJ003562685US addressed to “Luke Gerrits, 1046
Greenwood Ct Apt #10, Oshkosh, WI 54901” with a return
address of “JSD Auto, 405 N 75th Ave, Phoenix, AZ 85043.”

APPLICATION & AFFIDAVIT FOR SEARCH WARRANT

I, Matt Schmitz, a federal law enforcement officer, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

A USPS Priority Express parcel with tracking number EJ003562685US addressed to “Luke Gerrits, 1046
Greenwood Ct Apt #10, Oshkosh, WI 54901” with a return address of “JSD Auto, 405 N 75th Ave, Phoenix,
AZ 85043.”

currently located in the Eastern District of Wisconsin there is now concealed: Please see attached affidavit, which
is hereby incorporated by reference.

The basis for the search warrant under Fed. R. Crim. P. 41(c) is which is (check one or more):

Y evidence of a crime;

Y contraband, fruits of a crime, or other items illegally possessed;

Q property designed for use, intended for use, or used in committing a crime;
Qa person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:
Title 21, United States Code, Sections 841(a)(1) and 843(b).
The application is based on these facts:
¥ Continued on the attached sheet, which is incorporated by reference.

O Delayed notice of ____ days (give exact ending date if more than 30 days: )is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

   

 

Appliefnt’s tire
Name a

Sworn to before me, and signed in my presence.

Date Sol tr, 2019
“ ' Jufge’s signature

City and state: Green Bay, Wisconsin HE HONORABLE JAMES R. SICKEL

United States Magistrate Judge
Name & Title of Judicial Officer

 

Case 1:19-mj-00702-JRS Filed 07/02/19 Page 1of6 Document 1
AFFIDAVIT
Matt Schmitz, United States Postal Inspector, being duly sworn, states the following information was developed
from his personal knowledge and from information furnished to him by other law enforcement agents and
professional contacts:
I. INTRODUCTION
1. Ihave been employed by the United States Postal Inspection Service for approximately 15 years and was
previously employed as a Police Officer with the City of Middleton (WI) and City of Janesville (WI) Police
Departments for a total of six years. As part of my duties as a Postal Inspector, I investigate the use of the U.
S. Mails to illegally send and receive controlled substances and drug trafficking instrumentalities. I have
participated in investigations which have resulted in the arrest of individuals who have received and distributed
controlled substances using the U.S. Mail, as well as the seizure of the illegal drugs and proceeds from the sale
of those illegal drugs. My training and experience includes identifying packages with characteristics indicative

of criminal activity, namely, the distribution of controlled substances.

IL PARCEL TO BE SEARCHED
2. This affidavit is submitted in support of an application for a search warrant for a 14 inch by 14 inch by 12 inch
Priority Mail Express parcel with tracking number EJ003562685US, mailed on July 1, 2019, from Phoenix,
AZ zip code 85031-9998. This parcel bears handwritten addressee and return address information. The parcel
is addressed to “Luke Gerrits, 1046 Greenwood Ct Apt #10, Oshkosh, WI 54901” and bears a return address
of “JSD Auto, 405 N 75" Ave, Phoenix, AZ 85043.” The parcel weighs approximately 9 pounds, 14 ounces,

displays postage in the amount of $117.35, and is hereinafter referred to as “SUBJECT PARCEL.”

UL INVESTIGATION
3. On July 1, 2019, I searched US Postal Service records for Priority Mail Express Mail parcels that were destined
to be delivered to the Oshkosh, WI area on or about July 2, 2019. Asa part of my duties I regularly review

USPS mailing records in order to identify parcels that may be associated with controlled substance trafficking.

Case 1:19-mj-00702-JRS Filed 07/02/19 Page 2 o0f6 Document 1
-2-
These reviews are often conducted independent of any specific information identifying a particular address or
person as being suspected of receiving controlled substances or sending controlled substances or the proceeds
related to the distribution of controlled substances. Through my training and investigative experience, I have
learned that parcels containing controlled substances, controlled substance paraphernalia, or proceeds related to

the sale of controlled substances generally exhibit characteristics that could include:

a. The article is contained in a box, flat cardboard mailer, or Tyvek envelope;

b. The article bears a handwritten label;

c. The handwritten label on the article does not contain a business account number; and

d. The article originated from an area that, based on past experience is a known origination point for

controlled substances and is destined for an area that, based on past experience, is a known
destination point for controlled substances in the mail; or the reverse: the article originated from an
area that, based on past experience, is a known origination point for proceeds from the sale of
controlled substances, and is destined for an area that, based on past experience, is a known
destination point for controlled substance proceeds.
e. The article weighs one or more pounds or is a weight that is consistent with the parcel containing

items other than papers.

Parcels found to meet these characteristics are scrutinized by Postal Inspectors through further investigation,

which could include address and name verifications and a trained controlled substance-detecting canine

examination. During this review I located a Priority Mail Express Mail parcel with tracking number

EJ003562685US, (SUBJECT PARCEL) that had been mailed from Phoenix, AZ on July 1, 2019, was due to be

delivered to 1046 Greenwood Ct Apt #10, Oshkosh, WI 54901 on July 2, 2019, and weighed approximately 9

pounds, 14 ounces.

On July 2, 2019, I searched for the SUBJECT PARCEL at the U.S. Postal Service’s Express Mail processing
location in Grand Chute, WI. I know from serving as a Postal Inspector in northeast Wisconsin that Priority

Mail Express parcels destined for delivery to Oshkosh, WI addresses generally arrive at the Grand Chute

Case 1:19-mj-00702-JRS Filed 07/02/19 Page 3 0f6 Document 1
-3-
Express Mail processing location on the morning of the day they are scheduled to be delivered. I located the
SUBJECT PARCEL at the Grand Chute processing location and saw it contained tracking number
EJ003562685US, was addressed to “Luke Gerrits, 1046 Greenwood Ct Apt #10, Oshkosh, WI 54901” and bore

areturn address of “JSD Auto, 405 N 75th Ave, Phoenix, AZ 85043.”

During the course of my investigation of the SUBJECT PARCEL I queried USPS records for information on
previous related parcels that may have been delivered to 1046 Greenwood Ct Apt #10 in Oshkosh, WI 54901. I
learned from this query that this address had received two prior parcels mailed from Phoenix, AZ and Peoria, AZ
May 11, 2019 and June 7, 2019, respectively. The parcel mailed from Phoenix on May 11, 2019 weighed
approximately 3.56 pounds and bore tracking number 9505511805119131330076 while the parcel mailed from
Peoria, AZ on June 7, 2019, weighed approximately 2.31 pounds and bore tracking number EJ001378451US.
U.S. Postal Inspection Service General Analyst (GA) Jeff May reviewed USPS records and located a label that
was affixed to the parcel with tracking number 9505511805119131330076. I reviewed the image of this label
and saw it was addressed to “L Gerrits, 1046 Greenwood Ct Apt 10, Oshkosh, WI 54901” and exhibited a return
address of “RPM Specialist, 405 N 75" Ave, Phoenix, AZ 85043.” A label for tracking number
EJ001378451US was not available. I have learned through my training and investigative experience as a Postal
Inspector that individuals receiving controlled substances through the US Mail commonly receive mailings from
the same general geographical area on a routine basis, perhaps weekly, monthly, or quarterly. This is true
considering they usually have a relationship with only one source for their controlled substances and may use
more than one address to have the controlled substances mailed to, thereby decreasing the frequency of
suspicious mailings at one particular address. Further, I have learned through my training and investigative
experience that individuals selling controlled substances often receive the controlled substances in parcels that
weigh in excess of one pound. This is true considering the shipper may use packaging materials or containers to
conceal the controlled substances or mask any potential odor they dispense. Also, an individual selling
controlled substances has a need to possess greater amounts and weights of those substances in order to supply

their customers or other drug users. Finally, I have learned that individuals mailing controlled substance

Case 1:19-mj-00702-JRS Filed 07/02/19 Page 4of6 Document 1
-4-
commonly use a business name for the return address in an attempt to make it appear the parcel and its contents

are associated with a legitimate business transaction.

On July 2, 2019, I contacted Wisconsin State Trooper and K-9 Officer Dillon Larson who agreed to assist in
presenting the SUBJECT PARCEL to a dog sniff. Trooper Larson is a trained handler of a certified drug
detection dog named “Nora.” Trooper Larson explained that Nora is trained in detecting the presence of
marijuana, cocaine, heroin, and methamphetamine, and was last certified in detecting controlled substances in
May of 2019. Consistent with Trooper Larson’s training, experience, and direction, I placed the SUBJECT
PARCEL in an empty metal mail transport cart on the loading dock of the Oneida (WI) Post Office. Trooper
Larson did not see where I had placed the SUBJECT PARCEL on the loading dock. Nora examined the loading
dock and Trooper Larson said Nora alerted to the odor of controlled substances in a box in a cart. I identified the
box Trooper Larson was referring to as the SUBJECT PARCEL. Nora did not alert to the odor of controlled
substances in any other area of the loading dock. Following the dog sniff I retained custody of the SUBJECT
PARCEL and currently have it secured at the U.S. Postal Inspection Service office in Oneida, WI, in the Eastern

District of Wisconsin.

Postal Regulation Sec. 274.31 of the United States Postal Service Administrative Support Manual states that
no one may detain mail sealed against inspection, except under the following condition: A Postal Inspector
acting diligently and without avoidable delay, upon reasonable suspicion, for a brief period of time, to assemble

evidence sufficient to satisfy the probable cause requirement for a search warrant issued by a Federal Court.

For these reasons, there is probable cause to believe the SUBJECT PARCEL contains controlled substances,
controlled substance paraphernalia, and/or proceeds or payment related to the sale of controlled substances. I
am seeking the issuance of a warrant to search this parcel, and the contents contained therein, for contraband
and evidence of a crime, namely, possession and possession with the intent to distribute controlled substances,

and use of the mails to commit a controlled substance felony, in violation of Title 21,

Case 1:19-mj-00702-JRS Filed 07/02/19 Page 5of6 Document 1
United States Code, Sections 841(a)(1), and 843(b).

Matt Sc Se
US. ‘etal Inspector

 

Subscribed and sworn to before me this a ~day of July, 2019.

C yew, Zo

“—~Phe-H6fiorable JameSR Sickel
United States Magistrate Judge
Eastern District of Wisconsin

Case 1:19-mj-00702-JRS Filed 07/02/19 Page 6of6 Document 1
